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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                   MDL NO. 2924
    PRODUCTS LIABILITY                                                            20-MD-2924
    LITIGATION
                                                     JUDGE ROBIN L. ROSENBERG
                                           MAGISTRATE JUDGE BRUCE E. REINHART

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    THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER #7
                        Order Appointing Defendants’ Liaison Counsel

           Upon review of the Notice of Agreed Upon Defendants’ Liaison Counsel, the Court

    appoints Joanne M. O’Connor, Esq. to serve as Defendants’ Liaison Counsel.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 9th day of

    March, 2020.


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                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE
